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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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				Go to Today january, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				24jan10:00 am- 4:00 pmOral Arguments
							Event DetailsTuesday, January 24, 2017
10:00 AM


	S16G1143 United Health Services of Georgia, Inc. et al. v. Norton et al.
	S16G0646 DLT List, LLC et al. v. M7VEN Supportive Housing &amp; Development Group

2:00 [...]
							
							
									Event Details
									Tuesday, January 24, 2017
10:00 AM

S16G1143 United Health Services of Georgia, Inc. et al. v. Norton et al.
S16G0646 DLT List, LLC et al. v. M7VEN Supportive Housing &amp; Development Group

2:00 PM

S17A0176 Davis v. The State
S17A0209 Lyman v. The State
S17F0168 Rasheed v. Sarwat

&nbsp;


								
							
						
						
							
							
								
									
																
										Time(Tuesday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
				1/23/17 – STATE OF THE JUDICIARY
						
					
				1/6/17 – NEW CHIEF JUSTICE SWORN IN TODAY.
						
					
				1/4/17 – NEW CHIEF JUSTICE TO BE SWORN IN BY GOVERNOR
						
				
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